Case 2:03-cv-02955-.]DB-dkv Document 30 Filed 05/27/05 Page 1 of 2 Page|D 29

y /

IN THE UNITED sTATEs DISTRICT coURT ‘§dh%"rj£z~e~aa
FoR THE wEsTERN DIsTRIcT oF TENNEssEE ,
wEsTERN DIvIsIoN 35§§{37 FF€ 3' 52

 

UNITES STATES OF AMERICA,

 

Plaintiff,

vs. No. 03-2955BV
FIFTY THREE THOUSAND FIVE
HUNDRED TWENTY-SIX DOLLARS

AND TwELvE cENTS ($53,526.12)
and

THIRTY-NINE THOUSAND sEVEN
HUNDRED TWELVE DOLLARS AND
FIFTY-SEVEN CENTS, (39,712.57),

\_¢\_¢~_d\-.¢H_¢\_/`.¢v\.rv\.¢\_¢v\_¢\.d

Defendants.

 

ORDER GRANTING JOINT ORE TENUS MOTION OF THE PARTIES TO STAY

 

A scheduling conference was held in this case on May 26, 2005.
Present on behalf of the government was Chris Cotten, Assistant
United States Attorney. Also present was J. Rufus Garts, III, on
behalf of claimants. The claimants sought a stay of this matter
for 60 days because of a related pending criminal investigation.
The government concurred.

For good cause shown, the motion is granted. This case is
stayed until Thursday, July 28, 2005. and the scheduling conference
is reset that date at 9:30 a.m.

IT IS SO ORDERED this 27th day Of May, 2005.

new A< @,W

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

This document entered nn the docket sheet ln compliance
wnhnmassanworrew)FncPon ug (?€)

 

 

ESTENR D

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:03-CV-02955 Was distributed by faX, mail, cr direct printing on
May 31, 2005 to the parties listed.

ESSEE

 

Christcpher E. Cctten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

J ames Rufus Garts

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

Memphis7 TN 38103

Scott B. OStrcW

WYATT TARRANT & COl\/[BS
P.O. BOX 775000

Memphis7 TN 38177--500

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. BOX 775000

Memphis7 TN 38177--500

J ames R. Garts

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

Memphis7 TN 38103

chorable J. Breen
US DISTRICT COURT

